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                                   UNiTED STATES DISTRICT COURT
                                       DISTRICTOFNEWJERSEY

     UNITED STATES OF AMERICA                            :     Hon. Douglas E. Arpert

                    v.                                         Mag. No. 12-2574 (DEA)
     CAROL KOUNITZ,
     STEPHANIE LIMA,                                          CONTINUANCE ORDER
     MARK BETHEA, and
     EUGENE BROWN,
      a/k/a “Raheem”

                    This matter having come before the Court on the joint application of Paul 3.

     Fislunan, United States Attorney for the District of New Jersey (by Eric W. Moran and Matthew

     J. Skahill, Assistant U.S. Attorneys), and the above captioned defendants through their attorneys,

     for an order granting a continuance of the proceedings in the above-captioned matter, and each of

    the above captioned defendants and their attorneys having represented to the Government their

    intention to enter a guilty plea to charges contained in an Information, and each of the above

    captioned defendants having signed a plea agreement, and each of the above captioned

    defendants and their attorneys and the Government having represented that additional time
                                                                                                      is
    needed to finalize a pie-indictment resolution to the conduct charged in the crimin compl
                                                                                       al     aint
    including scheduling these matters before a United States District Judge; and each defend
                                                                                                    ant
    being aware that he or she has the right to have the matter submitted to a grand july within
                                                                                                     thirty
    days of the date of his or her initial appearance pursuant to Title 18, United
                                                                                     States Code, Section
    3 161(b); and each defendant, whose attorney has signed below, having consen
                                                                                       ted to the
    continuance and waived such right, and this being the fourth continuance sought
                                                                                          by the parties,
    and for good cause shown;
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                    IT IS THE FINDING OF THIS COURT that this action should be continued for

     the following reasons:

                    (I) Each defendant, whose attorney has signed below, through his or her counsel,

     has requested additional time to finalize a pre-indictment resolution to the conduct charged in the

     criminal complaint;

                    (2) The United States and the defendant have jointly represented that the parties

    desire additional time to finalize a pre-indictment resolution to this matter, which would render

    any subsequent trial of this matter unnecessary; and

                   (3) Pursuant to Title 18, United States Code, Section 3 161(h)(7), the ends of

    Justice served by granting the continuance outweigh the best interest of the public and the

    defendant in a speedy trial.

                   IT IS, therefore, on this :    day of March, 2013,

                   ORDERED that this action be, and it hereby is, continued from the date this order

    is signed through and including April 5, 2013; and it is further

                   ORDERED that the period from the date this order is signed through and

    including April 5, 2013 shall be excludable in computing time under the Speedy Trial Act
                                                                                                  of
    1974.


                                                             :J))
                                                                       }1   £


                                                      HON. DOUGLAS. ARPERT
                                                      United States Magistrate Judge
        Case 3:12-mj-02574-DEA              Document 77   Filed 03/05/13   Page 3 of 6 PageID: 207




              Form and entry
              consented to:


              I-
                               /
                                        /
              Matthew 3, Skahill
              Assistant US. Attorneys




            John F{      y, Esq,
            Counse for Carol Kounitz




                     orris,Esq.
           Counsel for Stephanie Liina




                      Qs,Esq.
           Counsel for Mark Bethea




             ioeotton,Esq.
           Counsel for Eugene Brown




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     Form and entry
     consented to:



     Eric W. Moran
     Matthew 3, Skahill
     Assistant US. Attorneys




     John Holliday, Esq.
     Counsel for Carol Kounitz




         W. Norris, Esq.
     Counsel for Stephanie Lbna




     Kim Augustus Otis, Esq.
     Counsel for Mark Bethea




    Bruce Throckmorton, Esq.
    Counsel for Eugene Brown
Case 3:12-mj-02574-DEA            Document 77   Filed 03/05/13   Page 5 of 6 PageID: 209




     Form and entry
     consented to:



     Eric W. Moran
     Matthew 3. Skahill
     Assistant U.S. Attorneys




     John Holliday, Esq.
     Counsel for Carol Kounitz




     Paul W. Norris, Esq.
     Counsel for Stephanie Lima




     Kim gustus Otis,
     Counsel for Mark Bethea




    Bruce Throckmorton, Esq.
    Counsel for Eugene Brown
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         consented to:



         Eric W. Moran
         M4tthew I Skahill
         Assistant T.LS Attorneys




          John Hollidiy, Esq
          Counsel for Carol Kouiiitz




          Paul W.Norrs, Esq.
          Counsci for Stephanie Lima




          Kim Augustus Otis, Esq.
          Counsel for Mark Betbea




          Bruce Throckworton, Esq.
          Counsel for Eugene arown
